     Case 2:16-cr-00279-JAD-PAL     Document 252     Filed 06/21/18      Page 1 of 4



 1   DAYLE ELIESON
     United States Attorney
 2
     ROBERT A. KNIEF
     Assistant United States Attorney
 3
     District of Nevada
 4   501 Las Vegas Boulevard South, Suite 1100
     Las Vegas, Nevada 89101
 5   Phone: (702) 388-6336
     Fax: (702) 388-6418
 6   Email: robert.knief@usdoj.gov
     Attorneys for United States of America
 7
                            UNITED STATES DISTRICT COURT
 8                               DISTRICT OF NEVADA
                                        -oOo-
 9
     UNITED STATES OF AMERICA,
10                                                   Case No.: 2:16-CR-0279-JAD-PAL
                            Plaintiff,
11                                                   STIPULATION TO RESET
                 vs.                                 SENTENCING DATE
12                                                     (Second Request)
     FEDEL SAKERS,
13
                            Defendant.
14
           IT IS HEREBY STIPULATED AND AGREED, by and between Dale Elieson,
15

16   United States Attorney, and Robert Knief, Assistant United States Attorney, counsel

17   for the United States of America, and Christopher Oram, counsel for defendant Fedel

18   Sakers, that the sentencing hearing currently set for Monday July 2, 2018 be reset for

19   July 17, 2018, or a date thereabouts convenient for the Court.

20         This stipulation is entered into for the following reasons:

21         1.     The victims of the charged offense are unable to attend the sentencing as

22   currently scheduled.

23         2.     Defendant is in custody and does not object to the continuance.

24


                                                 1
     Case 2:16-cr-00279-JAD-PAL     Document 252       Filed 06/21/18   Page 2 of 4



 1         3.     For the reasons stated above, the ends of justice would best be served by a
 2
     continuance of the sentencing date.
 3
           4.     Additionally, denial of this request for continuance could result in a
 4
     miscarriage of justice.
 5
           5.     This is the second request for a continuance filed herein.
 6
           DATED this 21st day of June, 2018.
 7

 8
                                                     DAYLE ELIESON
 9                                                   United States Attorney

10

11    /s/ Christopher Oram                           /s/ Robert Knief _______
     CHRISTOPHER ORAM                                ROBERT KNIEF
12   Counsel for Defendant                           Assistant United States Attorney
13

14

15

16

17

18

19

20

21

22

23

24


                                                 2
     Case 2:16-cr-00279-JAD-PAL        Document 252     Filed 06/21/18   Page 3 of 4



 1                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
 2
                                           -oOo-
 3
     UNITED STATES OF AMERICA,
 4
                               Plaintiff,              Case No.: 2:16-CR-0279-JAD-PAL
 5
                 vs.                                   FINDINGS OF FACT, CONCLUSIONS
 6                                                     OF LAW, AND ORDER
     FEDEL SAKERS,
 7
                               Defendant.
 8

 9                                          FINDINGS OF FACT

10         Based upon the pending Stipulation of counsel, and good cause appearing

11   therefore, the Court finds that:

12         1.     The victims of the charged offense are unable to attend the sentencing as
13   currently scheduled.

           2.     Defendant is in custody and does not object to the continuance.
14

15
           3.     For the reasons stated above, the ends of justice would best be served by a
16
     continuance of the sentencing date.
17
           4.     Additionally, denial of this request for continuance could result in a
18
     miscarriage of justice.
19
                                      CONCLUSIONS OF LAW
20
           The ends of justice served by granting said continuance outweigh the best
21
     interest of the public and the Defendant since the failure to grant said continuance
22
     would be likely to result in a miscarriage of justice, would deny the parties herein
23

24


                                                   1
     Case 2:16-cr-00279-JAD-PAL      Document 252         Filed 06/21/18   Page 4 of 4



 1   sufficient time and the opportunity within which to be able to effectively prepare for
 2
     sentencing, taking into account the exercise of due diligence.
 3
                                               ORDER
 4
           IT IS THEREFORE ORDERED that the sentencing date in this matter is reset
 5
     for the
          July____ day ofat__________________,
               17, 2018,                        2018.
                            the hour of 10:00 a.m.
 6

 7
           DATED
          DATED    this
                this    ____
                     21st dayday of _______________,
                              of June, 2018.         2018.
 8

 9
                                                        ____________________________________
10                                                      HONORABLE JENIFFER A. DORSEY
                                                        UNITED STATES DISTRICT JUDGE
11

12

13

14

15

16

17

18

19

20

21

22

23

24


                                                   2
